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MAY 06 2013 UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

BY MAIL EASTERN DIVISION
ITED STATES OF AMERICA

Plaintiff,

V.

EIGHTY-EIGHT THOUSAND, TWO HUNDRED
SIXTY-SEVEN DOLLARS ($88,267.00) U.S. CURRENCY,

Case No. 4:13CV00502 CAS

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Defendant.
VERIFIED MOTION FOR ADMISSION PRO HAC VICE

Pursuant to Rule 12 of the local! rules of the United States District Court for the Eastern
District of Missouri, I, Ronald N. Richards , move to be admitted pro hac vice to
the bar of this court for the purpose of representing Eyton Senders in this matter.
In support of this motion, I submit the following information as required by Rule 12.01(E):

 

(a) Full name of the movant-attorney;
Ronald Neil Richards

(b) Address, telephone number and fax number of the movant-attorney;
P.O. Box 11480, Beverly Hills, CA 310-556-1001, 310-277-3325

(c) Name of the firm or letterhead under which the movant practices;
Law Offices of Ronald Richards of Associates, APC

(d) Name of the law school(s) movant attended and the date(s) of graduation therefrom;
University of La Verne College of Law, 1-31-1995

(e) Bars, state and federal, of which the movant is a member, with dates of admission and
registration numbers, if any;
STATE BAR OF CALIFORNIA, 6-1-95, SBN 176246, See attach

(f) The movant is a member in good standing of all bars of which movant is a member; the
movant is not under suspension or disbarment from any bar; the movant has attached to
this motion a certificate of good standing in the bar of the jurisdiction in which the
movant resides or is regularly employed as an attorney.

(g) Movant does not reside in the Eastern District of Missouri, is not regularly employed in
this district and is not regularly engaged in the practice of law in this district.

Movant attests under penalty of perjury the truth and accuracy of the foregoing facts, and

respectfully requests that this motion be granted and that the movant be admitted pro hac vice to
the bar of the court to appear in the instant matter.

Gr—

Signature of Movant

 

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COURTS TO WHERE APPLICANT HAS BEEN ADMITTED
District of Colorado, August 2003, 176246
11 Circuit Court of Appeals, December 2004, 176246
2™ Circuit Court of Appeals, April 2011, 176246
United States Supreme Court, October 2010, 176246
9" Circuit Court of Appeal, December 11, 1996
Eastern District of Michigan, May 12, 2003

Central/Southern/Northern/Districts of CA, 6-95 to 6-99.
